Case 1:16-cr-20913-KMW Document 18 Entered on FLSD Docket 09/24/2017 Page 1 of 4




                              UNITED STA TES D ISTRICT CO UR T
                              SOU TH ER N DISTR ICT O F FLO RIDA

                               CASE N O .16-20913-CR -W ILLIA M S

                  :
    UNITED STA TES O F AM ERICA



    ALlISSA C HA M AS,

                          D efendant.

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                      U NITED STATES O F AM ERICA 'S FA CTU AL PRO FFER
                             FO R DEFENDA NT'S CH ANG E O F PLEA

           H ad this case proceeded to trial,the United States of Am erica would have proven the

    follow ing factsbeyond a reasonable doubt:

           On August 19, 2016, the defendant, a Lebanese national and naturalized citizen of

    Paraguay,w as arrested at GuaraniInternationalAirportin Ciudad D elEste,Paraguay on drug

    charges involving the attem pted shipm entvia aircargo to lstanbul,Turkey,51 boxes containing

    rollsofcellophaneplastic wrappingthathad cocaineconcealed within therolls.The totalquantity

    ofcocaine was 39 kilogram s.

           Follow ing the defendant'sarrestin Paraguay,SpecialAgents with the Drug Enforcem ent

    Administration (iiDEA'') in Paraguay took custody of the defendant's l-phone from the
    Paraguayan authoritiesw ho advised thatthedefendanthad given them consentto search hisphone

    and had given them the passw ord to his phone. Paraguayan authorities later obtained a search

    warrantforthe phone.

           A search of the defendant's cellphone revealed a series of W hatsA pp chats and voice

    m essages between the defendant and a person w ith alias EiKuku''using a cellphone num ber in
Case 1:16-cr-20913-KMW Document 18 Entered on FLSD Docket 09/24/2017 Page 2 of 4




   H ouston,Texas. Through the cellphone num ber,DEA agents identified Kuku assom eone living

   in Houston,Texas. The W hatsApp com m unications were from July 2,20l6 through the date of

   the defendant's arrest in Paraguay. These com munications indicated that the defendant w as

   planning to send to K uku'sassociate in Houston,Texasa testIoad ofcocaine,consisting ofthree

   kilogram s.

          During som e of the initialW hatsApp m essages in July,the defendantadvised Kuku that

   hism ethod ofshipm entwascargo,thatitw asvery secure,and itcould go anywhere. On July 14,

   2016,thedefendantadvised Kuku thathe w astraveling to Colom bia in relation to the shipm entto

   Turkey,and thathe (the defendant)could make arrangements for Kuku's friend. During a
   conversation on July l5,2016,the defendanttold K uku thathe had 43 in hishand. A photograph

   recovered from the defendant'sphone,created on July 14,2016,show sfourstacksofrectangular-

   shaped packages thattotaled 40,plusthree additionalpackages standing on their side facing the

   cam era show ing the Eiffel Tow er em blem . Another photograph in the defendant's cellphone

   depictsa singleunwrapped packageofapressed white substance,consistentwithcocaine,having

   the im printofthe EiffelTow er.

          During chatsofJuly 16,2016,the defendantindicated he wasin Cartagena,Colom bia,and

   said thathe had m etw ith the boss'sSscook''. Otherchatsthatday suggested thatthe defendantand

   Kuku had spoken overthe phone,and thatthey had discussed prices and costs. In the chats,the

   defendanttoldKukuthathis(Kuku's)associateneededtosend6000,plusanother3000,andthey
   wouldreceivethree(kilogramsofcocaine).
          During chatson July 18,2016,the defendanttold K uku thatafterthe çûtest''shipm ent,he

   could send 100 perm onth to the U .S.

          O n July 20,2016,Kuku asked the defendant how long it w ould take to arrive,and the
Case 1:16-cr-20913-KMW Document 18 Entered on FLSD Docket 09/24/2017 Page 3 of 4




    defendantresponded that itw ould take 4 to 5 daysto Houston,2 to 3 days to M iam i,4 days to

    Toronto,Canada,and em phasized thataircargo was fast.

           On A ugust 1,20l6,the defendanttold Kuku thathe wasreceiving ût65''today and w ould

    haveatotalofçt108,''whichrelatestothe43healreadyhadonhand(65plus43is108).
           On August3,2016,Kuku notified the defendantthathehad the m oney,and they agreed to

    have the m oney sentvia M oneyGram . On August4,2016,K uku sentthe defendanta copy ofthe

    M oneyGram receipt showing the wire transfer of $6,000 to Alilssa Chamas in Paraguay.
    Subpoenaed M oneyG ram records confirm ed the transfer. On A ugust 6, 2016, Kuku sent the

    defendant a H ouston,Texas address,and Iater he provided the defendant a nam e to w hom the

    package should be addressed.

           D uring severalchatsin A ugust,the defendantadvised K uku ofdateswhen ççit''w illgo out,

    and then provided reasons for delàys, including an increase in police presence at the airport.

    Finally,on Tuesday,August 16,20l6,the defendantconfirm ed thatitw ould go outon Saturday

    (August20th),andthattheywouldhaveitthefollowingMondayorTuesday.Thedefendantwas
    arrested on Friday,A ugustl9,2016,atthe airportin Ciudad DelEste,Paraguay,forthe attempted

    shipm entofcocaine to Turkey.

           O n N ovem ber 23,20l6,the defendantagreed to a post-M iranda recorded interview w ith

    the D EA . D uring the interview ,the defendant adm itted having sent cocaine overseas while

    working forotherpeople. The defendantadm itted thathe had a friend nam ed Kuku,and thathe

    received $5000topay forexpensesforatestload oftwotothreekilogramsthatwouldbesentto
    the United States.




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Case 1:16-cr-20913-KMW Document 18 Entered on FLSD Docket 09/24/2017 Page 4 of 4




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